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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                   )
                                            )
              v.                            )       No. 22-cr-15 (APM)
                                            )
       JOSEPH HACKETT,                      )
                                            )
                      Defendant.            )

              JOSEPH HACKETT’S MOTION IN LIMINE TO PRECLUDE
                   INTRODUCTION OF SAMSUNG FLIP PHONE

       Defendant Joseph Hackett, by and through his undersigned counsel, hereby submits this

motion in limine to preclude the government from introducing a Samsung flip phone and

testimony opining that the phone was a “burner” phone.

       The government notified counsel, by way of revised proposed stipulations, on

Wednesday, December 7, 2022, that the government intends to introduce a Samsung flip phone

that was seized from Mr. Hackett’s house during the execution of a search warrant on or about

May 28, 2021. Before receiving the government’s revised proposed stipulations, Mr. Hackett did

not know that the government had any intention of introducing the flip phone. During a video

conference with government counsel on December 8, 2022, the undersigned learned that the

government intends to introduce the flip phone to suggest it was a “burner” phone. Mr. Hackett

has received no notice that a law enforcement agent – or any other witness – would opine that an

old flip phone seized from his house was a “burner” phone.

       The Samsung flip phone has not been used in almost 10 years. It is an old phone that

belonged to one of Mr. Hackett’s close family friends, MT. A forensic review of the phone

shows that it had service from May 18, 2014 to November 22, 2014, and, during that time,

approximately 127 text messages were sent and/or received. Around 2014-2015, MT and his
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wife used to babysit Mr. Hackett’s young child three days per week while Mr. and Mrs. Hackett

worked. MT stopped using the phone and gave it to Mr. Hackett’s child to play with as a toy

phone. The last activity on the phone was logged as an “outgoing call” on December 5, 2017 at

10:39 a.m., to the number 23188118231645 for a duration of 0:00:00, consistent with a young

child typing in random numbers. It appears there was no active service on the flip phone at that

time. There has been no activity whatsoever on the old phone since then.

       The government now wants to tell the jury that Mr. Hackett had a “burner” phone. The

phone and any testimony that it is a “burner” must be precluded for several reasons. First, there

is no evidence that Mr. Hackett possessed that phone, as opposed to his wife or his child.

Second, there is no evidence whatsoever that the phone was obtained or used as a “burner”

phone. Third, because Mr. Hackett did not know the government intended to introduce this

phone or to introduce opinion testimony that it was a “burner” phone, he has not prepared to

have MT available as a fact witness.

       To date, the most information the government has given to Mr. Hackett regarding its

anticipated exhibits was the list of exhibits admitted at the Rhodes trial. The only reason Mr.

Hackett was made aware that the government intended to use this item in its case-in-chief was

because the government wanted him to stipulate to its chain of custody and admissibility. The

phone and any testimony regarding it should be excluded.

                                                     Respectfully submitted,



                                                     ______/s/ Angela Halim__________
                                                     Angela Halim, Esq.,
                                                     3580 Indian Queen Lane, Suite 10A
                                                     Philadelphia, PA 19129
                                                     (215) 300-3229
                                                     angiehalim@gmail.com

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                                CERTIFICATE OF SERVICE

        I hereby certify that on this date, I electronically filed the foregoing with the Clerk of
Court using CM/ECF. I also certify that the foregoing is being served this day on all counsel of
record, via transmission of Notices of Electronic Filing generated by CM/ECF.




                                                             ______/s/ Angela Halim ________
                                                             Angela Halim, Esq.

Dated: December 9, 2022




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